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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
KIM KATORA BROWN, et al.,           )
                                    )
            Plaintiffs,             )
v.                                  )
                                    )
GOVERNMENT OF THE                   )               Civil Action No. 13-00569 (KBJ)
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
___________________________________ )


                      DEFENDANT’S MOTION FOR DISMISSAL
                  OF PLAINTIFFS’ SECOND AMENDED COMPLAINT

       Pursuant to Federal Rules of Civil Procedure 12(b)(6) and 12(b)(1), Defendant the

District of Columbia respectfully moves this Court for dismissal of the Plaintiffs’ Second

Amended Complaint filed September 9, 2013. The grounds and reasons for granting

Defendant’s motion are set forth in the accompanying Memorandum of Points and Authorities

and proposed Order.



DATE: October 28, 2013               Respectfully submitted,

                                     IRVIN B. NATHAN
                                     Attorney General for the District of Columbia

                                     ELLEN A. EFROS
                                     Deputy Attorney General
                                     Public Interest Division
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